                     IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION
IN RE SQUIRRELS RESEARCH LABS LLC, ET          CASE NO. 21-61491-TNAP
AL.                                            (JOINTLY ADMINISTERED)
                 Debtors                       CHAPTER 11
                                               SUBCHAPTER V
                                               JUDGE PATTON

FREDERIC P. SCHWIEG, TRUSTEE                   ADVERSARY NO. 23-06029
                Plaintiff
                   V.
                                               ALL DOCUMENTS REGARDING THIS
JESSICA GRITZAN                                MATTER MUST BE IDENTIFIED BY BOTH
               Defendant                       ADVERSARY AND BANKRUPTCY CASE
                                               NUMBERS AND NAME OF JUDGE


MOTION OF PLAINTIFF TO EXTEND TIME TO OBTAIN SERVICE OF PROCESS ON DEFENDANT
       Plaintiff moves the Court to Extend the time to obtain Service of Process on Jessica

Gritzan (“Defendant”). The summons in this proceeding was issued on November 27, 2023.

The summons and complaint were served by certified US Mail and was returned to plaintiff

as undelivered. Thereafter Defendant filed an answer to the complaint but raised the defense

of insufficiency of process. Plaintiff has requested that Defendant waive the defense or

permit Defendant’s counsel to accept service but has not yet heard back. Therefore, the

Plaintiff requests that the time to issue a new summons be extended for an additional 30 days

to April 26, 2024.

                                             Respectfully Submitted,
                                             /s/ Frederic P. Schwieg
                                             Frederic P. Schwieg, Esq. (0030418)
                                             Attorney at Law
                                             19885 Detroit Rd #239
                                             Rocky River, Ohio 44116
                                             (440) 499-4506
                                             Fax (440) 398-0490
                                             fschwieg@schwieglaw.com
                                             Subchapter V Trustee




23-06031-tnap        Doc 17   FILED 03/22/24      ENTERED 03/22/24 15:55:51           Page 1 of 2
                                          CERTIFICATE OF SERVICE
I hereby certify that a copy of this Notice Of Appearance And Request For Service Of Papers was served on
March 22, 2024 upon the following via the Court’s ECF/CM system or by U.S. mail, postage prepaid as
indicated below.

Jack B. Cooper on behalf of Defendant jcooper@milliganpusateri.com



                                                        /s/ Frederic P. Schwieg
                                                        Frederic P. Schwieg




                                                        2


23-06031-tnap        Doc 17       FILED 03/22/24            ENTERED 03/22/24 15:55:51              Page 2 of 2
